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FD-302a (Rev. 5-8-10)                  89B-WF-3368293-214_AFO
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                                                 UNCLASSIFIED//FOUO
          89B-WF-3368293-214 AFO
                   (U//FOUO) Interview of
Continuation ofFD-302 of _________________ , On
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          "numerous individuals" were trying to knock              nd other SAT members down. A female officer fell
          and some in the crowd attempted to drag her away from the line, s           "had to grab [her] back."

           -..,as "hit 7 or 8 times" and several rioters were "kicking my shield." -was "pushing
          someone to my left" when a rioter "hit from my right." -fell on another SAT member, Officer
                                  One rioter had a "flagpole, a broken pole, metal pole from the inauguration stage," which he
          used to hit the officer to-s right. The rioter swung the flagpole at- but missed. One
          woman had a "piece of wood" which "said 'Ways and Means' on it."

           -stated that no rioter made contact with him "because of the shield; if we hadn't had shields, it
          would have been a full-on hurt party." -himself suffered only a "smashed nail on [his] left thumb."

          INDIVIDUAL RIOTERS

           -admitted the crowd was a "free for all...very chaotic." He recalled two individuals, a "middle-aged
          guy wearing a brown or coyote brown [dark tan] jacket" who was "very vocal," and a "heavy-set dude with a beard"
          who yelled at the officers present.

            The Author sent-pictures of three separate rioters who were depicted in a video with
                          n January 6. -identified Subject 1 as the "white male with the coyote brown jacket."
          Subject 1 was "one of the first to come in and start hitting/Pushing officer's on the line." Subject 1 "hit, grabbed
          and pushed"- -could not be sure whether the other identified rioters assaulted any
          officer on January 6.




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